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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

  MARK LYTCH,                    )
                                 )
            Plaintiff            )
                                 )
       v.                        ) Case No.: 3:14-cv-07387-FLW-LHG
                                 )
  PORTFOLIO RECOVERY ASSOCIATES, )
  LLC,                           )
                                 )
            Defendant            )
                                 )

                       NOTICE OF VOLUNTARY DISMISSAL


  TO THE CLERK:

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

  dismisses the Complaint with prejudice.




  Dated: February 25, 2015                   BY: /s/ Amy L. Bennecoff Ginsburg
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                                             Attorney for Plaintiff
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                                    Certificate of Service

         I hereby certify that on this 25th day of February, 2015, a true and correct copy of

  the foregoing pleading served via mail to the below:


         Keith S. McGurgan, Esq.
         Portfolio Recovery Associates
         140 Corporate Boulevard
         Norfolk, VA 23502



                                                /s/ Amy L. Bennecoff Ginsburg
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